Case 1:19-cr-20450-RNS Document 85-1 Entered on FLSD Docket 01/28/2022 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 Case Number: 19-cr-20450-SCOLA

   UNITED STATES OF AMERICA,

                          Plaintiff,
                  v.

   ALEX NAIN SAAB MORAN,

                     Defendant.
   ______________________________/

                                            SEALED ORDER

           The United States of America, having applied to this Court for an Order sealing the Motion

   for the Production of Records from the Zoom Initial Appearance of the Defendant, Alex Nain

   Moran Saab, on October 18, 2021, the proposed order, any resulting order, and this Order, and the

   Court finding good cause:

           IT IS HEREBY ORDERED that the Motion for the Production of Records from the Zoom

   Initial Appearance of the Defendant, Alex Nain Moran Saab, on October 18, 2021, the proposed

   order, any resulting order and this Order shall be filed under seal for one year or until further order

   of this Court, however, the United States Attorney=s Office and any relevant law enforcement

   agency may obtain copies of the motion, any resulting order, and this Order for purposes of

   gathering the records requested in the motion and resulting order.

           DONE AND ORDERED in chambers at Miami, Florida, this ____ day of __________,

   2022.

                                                          ____________________________________
                                                          HONORABLE ROBERT N. SCOLA, JR.
                                                          UNITED STATES DISTRICT JUDGE


   cc: AUSA Kurt K. Lunkenheimer
